        Case 4:22-cv-03354 Document 6 Filed on 11/04/22 in TXSD Page 1 of 2




                                   UNITED STATES DISTRICT COURT
                                    SOUTHERN DISTRICT OF TEXAS
                                        HOUSTON DIVISION

N.C.N., LLC,                                                   §
                                                               §
         plaintiff,                                            §
                                                               §
v.                                                             §
                                                               §        Case 4:22-cv-03354
WILMINGTON SAVINGS FUND                                        §
SOCIETY, FSB and FINANCE OF                                    §
AMERICA STRUCTURED SECURTIES                                   §
ACQUISION TRUST 2019-HB1,                                      §
                                                               §
         defendants.                                           §

      NOTICE OF NO RESPONSE TO WILMINGTON'S DISMISSAL MOTION

         In addition to the grounds stated in Wilmington Savings Fund Society, FSB, not individually

but solely as trustee for Finance of America Structured Securities Acquisition Trust 2019-HB1's

(Wilmington), incorrectly sued as Wilmington Savings Fund Society, FSB and Finance of America

Structured Securties[sic] Acquision[sic] Trust 2019-HB1, dismissal motion (dkt. 5), the court may

also assume NCN, LLC does not oppose dismissal because it has not filed any opposition to it.

         1.       Wilmington moved for judgment on NCN's pleadings on October 12, 2022.

         2.       NCN's response was due November 2, 2022. LR 7.4 (A).

         3.       NCN has not filed a response.

         4.       "Failure to respond to a motion will be taken as a representation of no opposition."

LR 7.4.

         5.       Shellpoint requests the court grant its dismissal motion with prejudice pursuant to the

reasons detailed in the motion and as unopposed pursuant to local rule 7.4.




________________________________________________________________________________________________________________________
NOTICE OF NO RESPONSE TO WILMINGTON'S DISMISSAL MOTION                                                         Page 1 of 2
Case 4:22-cv-03354; NCN., LLC v. Wilmington Savings Fund, FSB
        Case 4:22-cv-03354 Document 6 Filed on 11/04/22 in TXSD Page 2 of 2




Date: November 4, 2022                                         Respectfully submitted,



                                                                  /s/ Michael J. McKleroy
                                                               Michael J. McKleroy
                                                               SBN: 24000095, FBN: 576095
                                                               michael.mckleroy@akerman.com
                                                                --Attorney in Charge
                                                                C. Charles Townsend
                                                               SBN: 24028053, FBN: 1018722
                                                               charles.townsend@akerman.com
                                                               Bryan T. Brown
                                                               SBN: 24055219, FBN: 946689
                                                               bryan.brown@akerman.com
                                                               AKERMAN LLP
                                                               2001 Ross Avenue, Suite 3600
                                                               Dallas, Texas 75201
                                                               Telephone: 214.720.4300
                                                               Facsimile: 214.981.9339

                                                               ATTORNEYS FOR DEFENDANT
                                                               WILMINGTON SAVINGS FUND
                                                               SOCIETY, FSB, not individually
                                                               but solely as trustee for Finance
                                                               of America Structured Securities
                                                               Acquisition Trust 2019-HB1



                                        CERTIFICATE OF SERVICE

         A true and correct copy of this document was served on November 4, 2022 as follows:

NCN, LLC
c/o Cameron Namazi
1246 Lorraine Street, Suite A
Houston, Texas 77009
Pro se plaintiff
VIA CERTIFIED MAIL RECEIPT
NO. 9414 7266 9904 2195 7010 95
AND FIRST-CLASS U.S. MAIL

                                                                 /s/ Bryan T. Brown
                                                               Bryan T. Brown


________________________________________________________________________________________________________________________
NOTICE OF NO RESPONSE TO WILMINGTON'S DISMISSAL MOTION                                                         Page 2 of 2
Case 4:22-cv-03354; NCN., LLC v. Wilmington Savings Fund, FSB
